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                             IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT DELAWARE


                                                                          )
    In re:                                                                )    Chapter 11
                                                                          )
    YELLOW CORPORATION, et al.,1                                          )
                                                                               Case No. 23-11069 (CTG)
                                                                          )
                                                                          )
                               Debtors.                                   )    (Jointly Administered)
                                                                          )

                                CERTIFICATION
                       OF COUNSEL REGARDING JOINT
                 STIPULATION BY AND AMONG THE DEBTORS
           AND VALLEY NATIONAL BANK (I) GRANTING RELIEF FROM
     THE AUTOMATIC STAY AND (II) REJECTING CERTAIN LEASE AGREEMENTS
        1.   On August 6, 2023, the above-captioned debtors and debtors in possession

(the “Debtors”) filed voluntary petitions for relief under title 11 of the United States Code in

the United States Bankruptcy Court for the District of Delaware.

             2.     The undersigned certifies that the Debtors have entered into a Joint Stipulation By

and Among the Debtors and Valley National Bank (I) Granting Relief from the Automatic Stay and

(II) Rejecting Certain Lease Agreements (the “Stipulation”).

             3.     The undersigned further certifies that attached hereto as Exhibit A is an order

(the “Order”) approving the Stipulation, which is attached as Exhibit 1 to the Order.

The Stipulation, by its terms, is not effective until entry of the Order.




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place
      of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.



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          4.        The undersigned further certifies that the Stipulation has been shared with counsel

to the official committee of unsecured creditors (the “UCC Counsel”), and on October 10, 2023,

the UCC Counsel communicated to the Debtors’ counsel that the Committee does not object to the

Stipulation.

          5.        The Debtors respectfully request entry of the Order authorizing the Stipulation.

Dated: October 11, 2023
Wilmington, Delaware

/s/ _Laura Davis Jones ____________________
Laura Davis Jones (DE Bar No. 2436)                  Patrick J. Nash Jr., P.C. (admitted pro hac vice)
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                                                     Co-Counsel for the Debtors and Debtors in
                                                     Possession




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